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 8                      UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
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11   JOSEPH BOCHNER,                  No.   CIV. S-11-3416 LKK/CKD PS
12                Plaintiff,
13        v.                          ORDER
14   ARTHUR MUNOZ, et al.,
15                Defendants.
16

17        Plaintiff, proceeding pro se, filed the above-entitled

18   action.   The matter was referred to a United States Magistrate

19   Judge pursuant to Local Rule 302(c).

20        On March 14, 2013, the magistrate judge filed findings and

21   recommendations herein which were served on the parties and which

22   contained notice to the parties that any objections to the

23   findings and recommendations to be filed within fourteen days.

24   On March 20, 2013, defendants filed objections to the

25   recommendation that plaintiff be granted leave to amend his

26   complaint.   On April 1, 2013, plaintiff filed untimely objections

27   to that part of the findings and recommendations which recommend

28   summary judgment for defendants on the claims raised in
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 1   plaintiff’s original complaint.   In accordance with the
 2   provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this
 3   court has conducted a de novo review which included plaintiff’s
 4   untimely objections to the findings and recommendations.
 5        The magistrate judge recommends that defendants’ motion for
 6   summary judgment be granted on the grounds that (1) defendant
 7   Munoz is entitled to qualified immunity; and (2) plaintiff has
 8   failed to produce evidence to controvert defendants’ evidence
 9   that there was no custom or policy in place that would give rise
10   to municipal liability under the facts and circumstances of this
11   action.1   Findings and Recommendations filed March 14, 2013 (ECF
12   No. 23) at 5-6.   The magistrate judge also recommends that
13   plaintiff be granted a period of thirty days to amend his
14   complaint “to allege claims related to the pat-down search of
15   plaintiff and the search of plaintiff’s vehicle.”   Id.
16        Plaintiff raises several objections to the magistrate
17   judge’s findings that plaintiff’s constitutional rights were not
18   violated by his arrest for driving under the influence (DUI) and
19   the recommendation that summary judgment be granted for both the
20   arresting officer, defendant Munoz, and the Town of Truckee on
21   plaintiff’s claim that his constitutional rights were violated by
22   a false arrest on DUI charges.    Plaintiff’s objections are
23   without merit.
24        Defendants object on several grounds to the recommendation
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26     The court notes that the citations to Fed. R. Civ. P. 56 in the
     summary judgment standards set forth in the findings and
27   recommendations apparently refer to the version of Rule 56 that
     existed prior to the 2010 amendments, while the citation in
28   footnote 1 refers to the current version of Rule 56.
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 1   that plaintiff be permitted to amend his complaint.   Their
 2   principal objections center on the fact that plaintiff did not
 3   move to amend his complaint and they have not had an opportunity
 4   to oppose amendment; they also raise several arguments why
 5   amendment should be denied.   Defendants will have an opportunity
 6   to seek dismissal of the amended complaint pursuant to Fed. R.
 7   Civ. P. 12 on any ground available to them.2   The court will,
 8   therefore, adopt the magistrate judge’s recommendation and grant
 9   plaintiff leave to amend the complaint.
10        In accordance with the above, IT IS HEREBY ORDERED that:
11        1.    The findings and recommendations filed March 14, 2013
12   are adopted;
13        2.    Defendants’ motion for summary judgment (ECF No. 19) is
14   granted; and
15        3.    Plaintiff is granted leave to amend the complaint within
16   thirty days of the date of this order to allege claims related to
17   the pat-down search of plaintiff and the search of plaintiff’s
18   vehicle.
19        IT IS SO ORDERED.
20        DATED:    October 10, 2013.
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26     The operative scheduling order in this action requires that all
     pretrial motions be heard by November 13, 2013. Under the
27   circumstances of this case, the court presumes that the
     magistrate judge will entertain an appropriate request to extend
28   that deadline.
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